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  UNITED STATES BANKRUPTCY
  COURT DISTRICT OF NEW JERSEY
  ARTHUR J. ABRAMOWITZ, ESQUIRE
  BRUCE S. LUCKMAN, ESQUIRE
  SHERMAN, SILVERSTEIN, KOHL,
  ROSE & PODOLSKY, P.A.
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  Attorneys For Princeton Alternative Funding,
  LLC and Princeton Alternative Income Fund,
  LP, Debtors and Microbilt Corporation

  In Re:
                                                  Case No. 18-14603 (MBK)
  PRINCETON ALTERNATIVE FUNDING,                  (Jointly Administered)
  LLC and PRINCETON ALTERNATIVE
  INCOME FUND, LP,                                Chapter 11
                           Debtors.
                                                  Judge: Hon. Michael B. Kaplan

                                                  HEARING DATE: _______, 2018 at ____

                                                  ORAL ARGUMENT REQUESTED

    JOINT NOTICE OF MOTION OF PRINCETON ALTERNATIVE FUNDING, LLC.
        PRINCETON ALTERNATIVE INCOME FUND, LP. AND MICROBILT
             CORPORATION PURSUANT TO FED. R. BANKR. P. 8005
          FOR A STAY PENDING APPEAL OF THE ORDER APPOINTING
                          CHAPTER 11 TRUSTEE

 TO:       All Parties-in-Interest

           PLEASE TAKE NOTICE that on the date herein, Princeton Alternative Funding, LLC

 and Princeton Alterative Income Fund, LP, the debtors in these Chapter 11 cases (the "Cases"),

 by and through their counsel, Sherman, Silverstein, Kohl, Rose & Podolsky, P.A., and Microbilt

 Corporation , through their attorneys Reed Smith filed a motion (the "Stay Motion") (with the

 movants referred to as “Joint Appellants”), pursuant to Rule 8005 of the Federal Rules of

 Bankruptcy Procedure for a stay pending appeal the Order Appointing Chapter 11 Trustee



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 [Docket No. 389] in the jointly administered case and Orders Approving the Appointment of a

 Chapter 11 Trustee By Acting United States Trustee that is Docket No. 64 in Case No. 18-14600

 and Docket No. 414 in Case No. 18-14603. Pursuant to an Order Shortening Time served

 herewith, on November _____, 2018 at         _, the Joint Appellants shall move before the

 Honorable Michael B. Kaplan, United States Bankruptcy Judge, at the United States Bankruptcy

 Court, 402 East State Street, Trenton, New Jersey 08608, Courtroom #8, for the entry of an

 Order granting the Stay Motion.

         PLEASE TAKE FURTHER NOTICE that in support of the Stay Motion, the undersigned

 shall rely on the accompanying Application, Declaration of John “Jack” Cook and Memorandum

 which collectively set forth the relevant factual and legal bases upon which the relief requested

 should be granted. A proposed Order granting the relief requested in the Stay Motion also is

 submitted herewith.

         PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in the

 Stay Motion shall be filed and served in accordance with the Order Shortening Time.

         PLEASE TAKE FURTHER NOTICE that unless objections are timely filed and served,

 the Stay Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-1(a), and the

 relief requested may be granted without further notice or hearing.

         PLEASE TAKE FURTHER NOTICE that the undersigned request oral argument on the

 return date of the Stay Motion.

                                              SHERMAN, SILVERSTEIN, KOHL, ROSE &
                                              PODOLSKY, P.A.
                                              Attorneys for Princeton Alternative Funding, LLC
                                              and Princeton Alternative Income Fund, LP,
                                              Debtors

                                              By:    /s/ Arthur J. Abramowitz
                                                       Arthur J. Abramowitz
                                                       Bruce S. Luckman
 Dated: November 20, 2018



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